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                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

    WATTS CONSTRUCTORS, LLC,

                        Petitioner,

    v.                                             Case No. 20-mc-00211-EFM

    BONESO BROTHERS CONSTRUCTION,
    INC.,

                        Respondent.



                                          ORDER

          This motion arises from petitioner Watts Constructors, LLC (“Watts”), the third-

party in a related civil action pending in this court, 19-2269-EFM, Airtex Manufacturing,

LLC v. Boneso Brothers Construction, Inc.          On July 14, 2020, Boneso Brothers

Construction, Inc. (“Boneso”), the defendant in the civil action and respondent here, served

a subpoena duces tecum on Watts. Watts has filed a motion to quash the subpoena (ECF

No. 1), which Boneso opposes. For the reasons discussed below, the court grants the

motion to quash in part and denies it in part.

Background

          Watts is a general contractor and construction manager for federal government

construction projects.1 Watts entered into a contract with the United States Army Corps of

Engineers (“USACE”) to provide general contracting and construction management



1
    ECF No. 1 at 2.

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services for the Satellite Earth Terminal Station Facility project, located at Camp Roberts,

California.2 Watts subcontracted elements of the project, including mechanical and HVAC

work, specifically Roof Top Units (“RTUs”), to Boneso.3 Boneso contracted with Airtex

Manufacturing, Inc. (“Airtex”) to design, furnish, and install the RTUs.4

           Airtex has filed an action against Boneso, alleging Boneso has failed to pay for

certain elements of the project.5 Watts is not a party to that action. Airtex alleges it hasn’t

been paid in full by Boneso for mechanical and plumbing construction services.6 Boneso

alleges one of the reasons Airtex hasn’t been paid is because Watts has not paid Boneso in

full for the HVAC units.7 Boneso represents it is “not required to pay plaintiff until it has

pursued to conclusion its legal remedies against Watts related to Watts’s failure to pay.”8

Boneso alleges Watts has information related to communication with USACE, regarding

the HVAC units,9 that’s relevant to the payment dispute. Boneso served a subpoena with

18 requests for production to Watts on July 15, 2020, requesting that Watts produce the

documents by August 11, 2020.


2
    Id.
3
    Id.
4
    Id.
5
    Case No. 19-2269-EFM, No. 1.
6
    ECF No. 9 at 2.
7
    Id.
8
    Id.
9
    Id.
                                               2
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            Watts objected to the requests. On August 11, 2020, subject to its objections, Watts

made an initial document production to resolve the subpoena.10 Watts asserted it would

provide non-privileged, non-proprietary documents in response to some of the requests but

would not produce e-mails, given the burden it would impose.11 Watts maintained its

objections to four requests that are now subject to the motion to quash.12 Watts made

supplemental productions on September 3, 2020 and September 11, 2020,13 and Watts

represents it has produced or will produce all non-privileged, non-proprietary documents

in response to the subpoena, except for Request Nos. 3, 5, 6, and 13.14 The parties have

conferred multiple times by telephone and e-mail to resolve the subpoena.

            On September 2, 2020, Boneso Brothers filed a motion to compel related to the

subpoena in the underlying civil action.15 The court granted that motion as unopposed on

September 17, 2020.16 Meanwhile, on September 15, 2020, Watts filed a motion to quash

in the Eastern District of Virginia, Case No. 20-mc-00028.17 The motion to quash was

transferred to this court on October 2, 2020 by U.S. Magistrate Judge Ivan D. Davis who


10
     ECF No. 1 at 4.
11
     Id.
12
     Id.
13
     Id. at 5.
14
     Id.
15
     Case No. 19-2269-EFM, ECF No. 75.
16
     Case No. 19-2269-EFM, ECF No. 76.
17
     ECF No. 1.
                                                 3
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found “exceptional circumstances dictate that the U.S. District Court for the District of

Kansas is the proper court to handle the motion in order to avoid inconsistent rulings

between the D. Kan. and the EDVA regarding the requested discovery.”18 To the extent

Watts briefly raises the issue again in the instant motion, the court reiterates that it can

properly adjudicate this issue because of the transfer from the Eastern District of Virginia.

          On October 14, 2020, counsel for Boneso represented by e-mail to the court that

he’d conferred with counsel for Watts and the discovery issues had been resolved, so the

court did not revisit or vacate its prior order.19 The parties expressed optimism the issues

would be resolved, but the undersigned U.S. Magistrate Judge, James O’Hara, in an

abundance of caution, told the parties he’d grant the motion to quash as unopposed unless

there was further briefing or representation that the motion had been mooted.

          As it happened, the parties did not, in fact, resolve their disputes, and Boneso filed

its response on October 22, 2020.20 Watts filed its reply on October 29, 2020.21 The court

joins the parties’ frustration that their previous representations implied a resolution that did

not actually occur. Nonetheless, the court, rather than accept Watts’s suggestion to find

the subpoena has been resolved,22 turns to the parties’ arguments.




18
     ECF No. 5.
19
     Case No. 19-2269-EFM, ECF No. 80.
20
     ECF No. 9.
21
     ECF No. 12.
22
     Id. at 2.
                                                4
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Analysis

         Fed. R. Civ. P. 45 provides guidelines for the issuance of subpoenas to non-parties.

Rule 45(d)(3)(A) requires the court to quash or modify a subpoena that requires compliance

beyond the geographical limits of service; requires disclosure of privileged or protected

information; or subjects a person to undue burden. The rule allows a court to quash a

subpoena “on timely motion,” although the court is not bound by a strict time period for

determining timeliness.

         One of Boneso’s arguments is that the motion to quash was untimely because it was

filed more than 30 days after the date of compliance and 60 days after service. 23 Fed. R.

Civ. P. 45 does not define “timely,” though Boneso cites case law from outside this district

holding that “timely” means “at or around the time when a party files its objections or

within the time set forth in the subpoena for compliance.”24 But this district gives courts

discretion to consider motions to quash that were not “timely” filed within the meaning of

Rule 45.25 Boneso also argues Watts’s objections to the subpoena, filed on August 6, 2020,

were due by July 28, 2020 and are untimely.26

         Although the court finds these arguments are made in good faith, it declines to deny

the motion to quash on these bases. The record shows the parties have been trying, in good



23
     ECF No. 9 at 7.
24
  Id. (citing Ward v. Liberty Insurance Corp., 2018 WL991546, at *2 (W.D. Oklahoma,
February 20, 2018)).
25
     Ward, 2018 WL991546, at *2.
26
     ECF No. 9 at 8.
                                              5
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faith, to resolve the subpoena on their own and with the two courts involved. The court

will not find Watts has waived its objections based on its ongoing cooperation and attempts

to resolve the subpoena. Similarly, the court finds the motion was timely filed.

            Watts maintains its objection that the court should quash the subpoena because of

the geographical limits of Fed. R. Civ. P. 45(c)(1)A). Watts “does not maintain an office

in Kansas, is not currently transacting business in Kansas, and does not regularly transact

business in person in Kansas.”27          Watts maintains that the subpoena violates the

geographical restrictions of Rule 45, although it concedes the majority of responsive

documents can be produced electronically.28

            As the court stated in its September 17, 2020 order, although Fed. R. Civ. P.

45(c)(1)(A) limits the mandatory appearance of witnesses beyond a 100-mile radius, courts

in this district have repeatedly acknowledged that where a subpoena does not require

attendance of any witnesses – only production of documents – there is no violation of the

100-mile limitation of Rule 45.29 Production of the requested documents via e-mail, which

Watts has already done over several rounds of production, is reasonable and does not




27
     ECF No. 1 at 7.
28
     Id.
29
  Case No. 19-2269-EFM, ECF No. 76. Frick v. Henry Indus., Inc., No. 13-2490-JTM-
GEB, 2016 WL 6966971, at *3 (D. Kan. Nov. 29, 2016); Holick v. Burkhart, No. 16-1188-
JTM-KGG, 2017 WL 3723277, at *8 (D. Kan. Aug. 29, 2017).
                                                6
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impose a burden.30 Therefore, the court maintains this is not a reason to quash the

subpoena.

Undue Burden

         The court therefore moves to the substance of the subpoena. The scope of discovery

under a subpoena is the same as the scope of discovery under Rules 26(b) and 34 of the

Federal Rules of Civil Procedure.31        Rule 26(b) allows discovery regarding “any

nonprivileged matter that is relevant to any party’s claims or defenses and proportional to

the needs of the case.”32 The proportionality standard moved to the forefront of Rule 26(b)

when the rule was amended in 2015, which reinforced the need for parties to focus on the

avoidance of undue expense to the parties.33 Although the court still considers relevance,

the previous language defining relevance as “reasonably calculated to lead to the discovery

of admissible evidence,” was deleted in the 2015 amendment “because it was often misused




30
  Holick, 2017 WL 3723277, at *8 (“If the documents are being produced via e-mail,
however, there is no additional burden on the witnesses to produce the documents.”).
31
  Butcher v. Teamsters Local 955, No. 18-2424-JAR-KGG, 2019 WL 3453714, at *2 (D.
Kan. July 31, 2019) (quoting Parker v. Delmar Gardens of Lenexa, Inc., No. 16-2169-
JWL-GEB, 2017 WL 1650757, at *3 (D. Kan. May 2, 2017)).
32
   Fed. R. Civ. P. 26(b)(1). The proportionality standard takes into account “the importance
of the issues at stake in the action, the amount in controversy, the parties’ relative access
to relevant information, the parties’ resources, the importance of the discovery in resolving
the issues, and whether the burden or expense of the proposed discovery outweighs its
likely benefit.” Id.
33
     Frick, 2016 WL 6966971, at *3.
                                              7
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to define the scope of discovery and had the potential to ‘swallow any other limitation.’”34

As such, the requested information must be nonprivileged, relevant, and proportional to the

needs of the case to be discoverable.35

          The court takes Watts’s objections in turn. Watts objects to producing all e-mails

and to producing privileged, confidential, and proprietary documents. For the four specific

requests it objects to, Watts asserts they are overbroad and seek irrelevant information.

Watts argues the underlying civil case “is a breach of contract and payment dispute between

a subcontractor and its sub-subcontractor”36 and Watts “should not be required to broadly

produce all documents in response to these categories.”37 Watts proposes limited scopes

of production accordingly.

E-Mail Production

          Watts objects generally that it should not be required to produce all responsive e-

email correspondence related to a project that spanned nearly six years and included 25-30

personnel, in addition to subcontractors and suppliers.38 Watts argues the search will be

unduly expensive, costing between $10,000 and $20,000. Watts states its project team




34
   Brown v. Panhandle E. Pipeline Co. L.P., No. 16-CV-2428-JAR-TJJ, 2018 WL 263238,
at *2 (D. Kan. Jan. 2, 2018).
35
  Funk v. Pinnacle Health Facilities XXXII, LP, No. 17-1099-JTM-KGG, 2018 WL
6042762, at *1–2 (D. Kan. Nov. 19, 2018).
36
     ECF No. 1 at 9.
37
     Id. at 9-10.
38
     Id. at 8.
                                               8
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members each maintain their e-mails differently and producing each and every e-mail

would require it to conduct “an extensive search of every custodian’s account to find the

information Boneso seeks.”39

            Watts proposed to Boneso that it should “limit its requests to specific date ranges,

custodian accounts, and also provide a list of search terms for Watts to run over the

accounts.”40 Boneso did not respond to this proposal.41 Watts also argues Boneso should

bear the cost.42 Boneso argues the requests do not impose an undue burden and that it does

not know who at Watts would have the relevant information or where these e-mails would

be stored. Boneso is skeptical that 25-30 personnel would be involved in the relevant

conversations; “it seems far more likely that 1 or 2 key individuals at Watts were

participating in these communications.”43 Therefore, Boneso contends Watts should

provide a list of e-mail custodians, including which of them likely had significant

communications regarding the topics identified in the subpoena.44

            The court is inclined to rule in favor of Watts on this issue. Boneso represented to

the court on October 14, 2020, over a month after Watts’s three productions, that its counsel




39
     ECF No. 12 at 7.
40
     ECF No. 1 at 8.
41
     ECF No. 12 at 7.
42
     ECF No. 1 at 8.
43
     ECF No. 9 at 11.
44
     Id.
                                                 9
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“has not had the chance to review all of the documents received from Watts.”45 Apparently,

its client directed counsel not to review the documents “because it did not want to incur

attorney’s fees and costs for the review time.”46 Based on this representation and Boneso’s

lack of supporting case law, the court is unpersuaded that Watts should be required to

produce a nebulous and perhaps unwieldy number of e-mails. The court declines the

general request to compel all e-mails. To the extent there are e-mails responsive to the

specific requests that Watts has not produced but of which it is aware, Watts shall produce

them in accordance with the rulings below.

Privileged, Confidential, and Proprietary Documents

           Watts argues it shouldn’t be required to produce documents it contends are

privileged, confidential, or proprietary. Specifically, Watts represents it cannot produce

certain documents with proprietary information about pricing, staffing, and logistics of

government construction projects.47     It proposes the court allow it to redact such

confidential and proprietary information. To that end, Watts produced a privilege log in

response to the subpoena.48 Watts is essentially asking for a blanket protective order to

protect against the disclosure of trade secret information. As such, Watts must first

establish that the information sought to be protected is indeed a trade secret, then must




45
     ECF No. 12-2 at 2.
46
     ECF No. 12 at 3.
47
     ECF No. 1 at 12.
48
     Id.
                                             10
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show that the disclosure of the trade secret information would result in a clearly defined

and very serious injury.49 To establish such an injury, Watts must “make a particular and

specific demonstration of fact, as distinguished from stereotyped and conclusory

statements.”50

           Boneso argues Watts has not met its burden to show that this information should be

redacted, as Watts “does nothing more than make the conclusory statement that certain

information is proprietary or confidential.”51 The court agrees. Beyond asserting that

certain pricing and staff information, if released, “could cause harm to Watts’s competitive

edge,”52 Watts hasn’t cited any case law showing that this information is subject to

redaction. In the underlying civil case, the court entered the parties’ September 3, 2019

agreed protective order (ECF No. 21), whose provisions on confidential information are

extended to third parties, if timely requested by the third party.53 The protective order

should adequately protect the parties’ privacy and confidentiality rights.54 The court denies

Watts’s request to redact information it contends is confidential or proprietary.




49
  Rajala v. McGuire Woods, LLP, No. CIV.A. 08-2638-CM-DJ, 2010 WL 4683979, at
*11 (D. Kan. Nov. 12, 2010).
50
     Id.
51
     ECF No. 9 at 9.
52
     ECF No. 12 at 7.
53
     Case No. 19-2269-EFM, ECF No. 21, ¶ 16.
54
  See Frick, 2016 WL 6966971, at *3 (citing Martin v. Grp. 1 Realty, Inc., No. 12-2214-
EFM-DJW, 2013 WL 3322318, at *5 (D. Kan. July 1, 2013)).
                                               11
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Specific Requests

           Boneso argues Watts has asserted general or conditional objections to the four

requests at issue. Conditional objections occur “when a party asserts objections, but then

provides a response ‘subject to’ or ‘without waiving’ the stated objections.”55 For example,

“a general objection that objects to a discovery request ‘to the extent’ that it asks the

responding party to provide documents or information protected by the attorney-client

privilege or work product immunity is tantamount to asserting no objection at all.”56

To be clear, such objections “preserve nothing and serve only to waste the time and

resources of both the parties and the court.”57 General objections are considered overly

broad and worthless, unless the objections are substantiated with detailed explanations.58

           After reviewing the relevant discovery requests and objections, the court agrees

some of the objections, particularly those objecting on the basis of attorney-client privilege,

are arguably general objections. Other objections in Watts’s “general objections” are more

specific, focusing on the particulars of the case with sufficient explanations. To the extent

Watts has provided partial answers to these or other requests, the court strongly reminds




55
  U, Inc. v. ShipMate, Inc., No. 2:14-CV-2287-JTM-TJJ, 2015 WL 3822731, at *3 (D.
Kan. June 19, 2015).
56
 Williams v. CoreCivic, Inc., No. 17-CV-2310-JAR-GLR, 2018 WL 3075867, at *3 (D.
Kan. June 21, 2018).
57
     Id.
58
     Id.
                                              12
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Watts that conditional objections are not appropriate. On the whole, however, the court

finds Watts’s objections are specific enough so as not to be waived.

           Request No. 3

           Request No. 3 seeks “all documents evidencing payments Watts has received from

USACE for work on the Project, including payment applications and corresponding

payments from USACE.”59 Watts has produced documents showing payments received

from USACE on account of Boneso’s work on the project but objects to producing

documents regarding other subcontractors’ work or Watts’s own work as irrelevant and

overly broad.60

           Boneso argues it is entitled to any payment applications and corresponding

payments from the USACE. Boneso explains these payments are relevant to the underlying

lawsuit, which involves failure to pay for work on this project. Airtex claims Boneso has

failed to pay Airtex in full and that Watts has paid Boneso for Airtex’s scope of work.

Boneso argues Watts hasn’t paid Boneso in full for Airtex’s scope of work. The amount

USACE has paid Watts, “in order to determine if Watts has properly flowed down

payments from USACE to Boneso pursuant to their contract,”61 is therefore relevant.

           The court agrees with Boneso that the scope of the request is narrowly tailored, not

unduly burdensome, and seeks information relevant to the underlying lawsuit. Watts shall




59
     ECF No. 1 at 10.
60
     Id.
61
     ECF No. 9 at 15.
                                                13
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produce any documents sent by Watts to the USACE requesting payments and any

documents from the USACE acknowledging or disputing those payment requests.

           Request No. 5

           Request No. 5 seeks “all correspondence and other documents exchanged with

USACE concerning payments owed or withheld related to the Project.”62 Watts has agreed

to produce documents related to Boneso’s work but objects to producing documents

“concerning amounts withheld by USACE on account of other subcontractors’ work or

reasons unrelated to Boneso’s work.”63

           Boneso again argues the documents related to payments are relevant to determining

if Watts properly paid Boneso or retained some funds “to compensate Watts for the funds

being withheld from the USACE related to Watts’ (or its other subcontractors’)

deficiencies.”64 The court finds this request to be a closer call, given the broader language

of the request. Ultimately, the court finds the language of “all correspondence and other

documents” coupled with the vague language of “concerning payments” to be overly broad.

The court sustains Watts’s objection and requires it to produce only documents showing

payments withheld for reasons related to Boneso’s work.




62
     ECF No. 1 at 10.
63
     Id.
64
     ECF No. 9 at 17.
                                               14
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           Request No. 6

           Request No. 6 seeks “all documents and correspondence concerning any Miller Act

claims related to the project.”65 Under 40 U.S.C. § 3131, a Miller Act claim is “a claim for

non-payment against a general contractor’s bond on a federal government construction

project.”66 Watts argues any claims beyond Boneso’s or Airtex’s claims are irrelevant to

the dispute at issue and that Boneso “is engaging in a fishing expedition.”67 Boneso argues

this information is relevant “to determine if there are other subcontractors or suppliers from

whom Watts is also withholding funds,” which would show a “pattern of withholding funds

from contractors on this project.”68

           Boneso does not proffer any evidence that Watts is withholding funds from other

subcontractors or suppliers, nor does Boneso explain how this is relevant to its defense in

the underlying action. The court sustains Watts’s objection and requires it to produce only

documents related to Boneso’s and Airtex’s Miller Act claims.

           Request No. 13

           Request No. 13 seeks “all documents and correspondence regarding liquidated

damages for the project, including whether liquidated damages will be asserted related to




65
     ECF No. 1 at 11.
66
     Id.
67
     Id.
68
     ECF No. 9 at 18.
                                              15
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the project.”69      Similarly to its other objections, Watts argues documents related to

liquidated damages asserted or withheld on account of other subcontractors are irrelevant

to the dispute here.70

           Boneso argues this information is relevant to the claim in the underlying litigation

that Watts is withholding money from Boneso because the USACE has threatened to

impose liquidated damages.71 As Boneso cites, the record shows Watts references this

threat as one of several reasons why it hasn’t paid Boneso.72 Watts has produced a payment

estimate showing “the amounts presently withheld from Watts for liquidated damages and

the alleged reasons for the withholding (which Watts disputes).”73 Watts asks the court to

find it has complied with the request by limiting its production to liquidated damages on

account of Boneso’s work. Boneso argues that isn’t sufficient because it doesn’t know

how Watts is going to make that determination. Boneso argues other subcontractors’

delays “that were potentially concurrent with alleged delays of Boneso/plaintiff” would be

relevant to “determining what portion of liquidated damages could be assessed against

Boneso and/or plaintiff.”74




69
     ECF No. 1 at 11.
70
     Id.
71
     ECF No. 9 at 19.
72
     ECF No. 9-5 at 3.
73
     ECF No. 1 at 12.
74
     ECF No. 9 at 20.
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       Because the ultimate issue in the underlying claim involves Boneso’s payment to

Airtex – and Boneso claims it doesn’t have to pay until it resolves its issues with Watts’s

payment – the court agrees the issue of liquidated damages is relevant here. The court

overrules Watts’s objection as to Request No. 13 and directs Watts to produce the

responsive information.

       IT IS THEREFORE ORDERED that petitioner Watts’s motion to quash (ECF No.

1) is granted in part and denied in part. Watts’s objections as to Request Nos. 5 and 6 are

sustained. Watts shall produce the documents sought by Request Nos. 3 and 13, without

objection, by November 20, 2020.

       Dated November 6, 2020, at Kansas City, Kansas.

                                          s/ James P. O’Hara
                                          James P. O’Hara
                                          U.S. Magistrate Judge




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